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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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ADVANCED ANALYTICS, INC.,

                                   Plaintiff,                            04 CIVIL 3531 (LTS) (SLC)

                 -against-                                                    JUDGMENT
CITIGROUP GLOBAL MARKETS INC., et al.,

                                    Defendants.
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        It is hereby ORDERED, ADJUDGED AND DECREED: That for the reasons

stated in the Court's Order dated November 4, 2021, in the Court’s September Order, and in the

2009 Report and 2019 Report, the Court adopts the 2009 Report’s recommendations concerning

Plaintiff’s entitlement to nominal damages and Defendants’ counterclaim for attorneys’ fees.

Judgment is entered as follows:(1) in Plaintiff’s favor on its breach of contract claim (to the extent

that claim is based on Teytel’s limited use of the outputs of Defendants’ testing of ACE) and to

award Plaintiff damages on that claim in the nominal amount of $1, (2) in favor of

Defendants as to the remainder of Plaintiff’s claims and as to Defendants’ counterclaim for fees and

costs under the parties’ Non-Disclosure Agreement; accordingly, the case is closed. The Court shall

retain jurisdiction over this action for the purpose of calculating and awarding the fees and costs to

which Defendants are entitled.


Dated: New York, New York
       November 5, 2021

                                                                          RUBY J. KRAJICK
                                                                      _________________________
                                                                             Clerk of Court
                                                                BY:
                                                                      _________________________
                                                                             Deputy Clerk
